  Case 14-05507         Doc 99     Filed 03/19/19 Entered 03/19/19 12:15:35              Desc Main
                                      Document Page 1 of 3


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14-05507
         Miguel A Miranda
         Yolanda M Miranda
                  Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 02/20/2014.

         2) The plan was confirmed on 09/24/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 01/15/2019.

         6) Number of months from filing to last payment: 59.

         7) Number of months case was pending: 61.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $35,500.00.

         10) Amount of unsecured claims discharged without payment: $46,229.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (09/01/2009)
 Case 14-05507        Doc 99     Filed 03/19/19 Entered 03/19/19 12:15:35                   Desc Main
                                    Document Page 2 of 3



Receipts:

       Total paid by or on behalf of the debtor          $196,309.85
       Less amount refunded to debtor                      $1,493.18

NET RECEIPTS:                                                                             $194,816.67


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $0.00
    Court Costs                                                           $0.00
    Trustee Expenses & Compensation                                   $8,476.64
    Other                                                                 $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                             $8,476.64

Attorney fees paid and disclosed by debtor:             $3,500.00


Scheduled Creditors:
Creditor                                    Claim        Claim            Claim       Principal        Int.
Name                              Class   Scheduled     Asserted         Allowed        Paid          Paid
Banco Popular                 Unsecured     20,000.00           NA              NA            0.00         0.00
Banco Popular                 Secured       20,000.00           NA              NA            0.00         0.00
MASTER ALTERNATIVE LOAN TRUST Secured      107,498.00   107,044.09       107,147.10           0.00         0.00
MASTER ALTERNATIVE LOAN TRUST Secured             NA         103.01          103.01        103.01          0.00
NATIONAL LOAN INVESTORS       Unsecured     26,229.00           NA              NA            0.00         0.00
NATIONAL LOAN INVESTORS       Secured      120,000.00   170,000.00       170,000.00    170,000.00    16,237.02




UST Form 101-13-FR-S (09/01/2009)
  Case 14-05507         Doc 99      Filed 03/19/19 Entered 03/19/19 12:15:35                Desc Main
                                       Document Page 3 of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                 $277,147.10       $170,000.00         $16,237.02
       Mortgage Arrearage                                   $103.01           $103.01              $0.00
       Debt Secured by Vehicle                                $0.00             $0.00              $0.00
       All Other Secured                                      $0.00             $0.00              $0.00
 TOTAL SECURED:                                         $277,250.11       $170,103.01         $16,237.02

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                                   $0.00               $0.00            $0.00


Disbursements:

         Expenses of Administration                            $8,476.64
         Disbursements to Creditors                          $186,340.03

TOTAL DISBURSEMENTS :                                                                      $194,816.67


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/19/2019                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
